
By the Court.—Freedman, P. J.
This action was brought to recover damages for personal injuries sustained by the plaintiff through the negligence of defendant’s servants in attempting to get on board of one of *117the trains of defendant’s railway. Upon the trial the defendant produced no evidence and the case was submitted to the jury upon the testimony given by and on behalf of the plaintiff. Upon such testimony the case was clearly one for the jury. A dismissal of the complaint would have been error. All the questions as to which the trial judge was requested to charge, were submitted to the jury under a charge which fully guarded every right the defendant had. The jury were expressly instructed that they might render a verdict for the defendant although the testimony of the plaintiff was uncontradicted. Upon the whole case no exception appears of sufficient merit to call for reversal.
The judgment and ordér should be affirmed, with costs.
McAdam and Gildersleeve, JJ., concurred.
